                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

 BILLIE RODRIGUEZ, DANIEL ERWIN,                            )
 MICHAEL B. ACKERMAN, KYLE FOREMAN,                         )
 DREW SCRUGGS, MARY JANE MCQUEENY,                          )
 EMILY THORPE, JENNIFER TRITT and THE                       )
 BOARD OF COUNTY COMMISSIONERS OF                           )
 THE COUNTY OF FORD, individually and on                    )
 behalf of all other similarly situated,                    )
                                                            )
       Plaintiffs,                                          ) Case No. 4:24-cv-00803-SRB
                                                            )
 v.                                                         )
                                                            )
 EXXON MOBIL CORPORATION, CHEVRON                           )
 USA INC., CHEVRON PHILLIPS CHEMICAL                        )
 CORPORATION, DUPONT de NEMOURS, INC.,                      )
 DUPONT CORPORATION, CELANESE                               )
 CORPORATION, DOW INC., DOW CHEMICAL                        )
 COMPANY, EASTMAN CHEMICAL COMPANY,                         )
 LYONDELLBASELL INDUSTRIES N.V., and                        )
 AMERICAN CHEMISTRY COUNCIL,                                )
                                                            )
       Defendants.                                          )


         JOINT MOTION AND [PROPOSED] CONSENT ORDER REGARDING
              MOTIONS, BRIEFING SCHEDULES AND PAGE LIMITS

       WHEREAS, on January 17, 2025, Plaintiffs filed a 98-page First Amended Class Action

Complaint, Dkt. 48, in the above-captioned action;

       WHEREAS, Defendants1 intend to respond to the First Amended Class Action Complaint

by filing dispositive Rule 12(b) motions, including, but not necessarily limited to, motions to




 1
   LyondellBasell Industries, N.V. contends it has not been served in this matter, so it is not a party
 to this Consent Motion. Any newly-appearing parties will be entitled to join and benefit from the
 schedule outlined in this motion.


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dismiss for lack of subject matter and personal jurisdiction, motions to dismiss for failure to state

a claim, and/or motions to strike certain allegations (collectively, “Motions to Dismiss”);

       WHEREAS, the Parties respectfully submit that the interests of justice and efficient

consideration by this Court can best be achieved by setting a briefing schedule for Defendants’

forthcoming Motions to Dismiss, Plaintiffs’ Oppositions, and Defendants’ Replies (hereinafter

“Consent Motion”);

       WHEREAS, this Consent Motion does not operate as an admission of any factual

allegation or legal conclusion and is submitted subject to and without waiver of any right, defense,

affirmative defense, claim, or objection, including lack of personal or subject matter jurisdiction;

and

       WHEREAS, the Parties through their undersigned counsel have conferred and consented

to the entry of this Consent Motion, and good cause has been shown;

       IT IS HEREBY AGREED, SUBJECT TO THE APPROVAL OF THE COURT,

THAT:

       1.      Defendants’ Motions to Dismiss shall be filed by March 10, 2025. This is

expected to include the following motions: (1) Defendants’ Joint Motion to Dismiss for Lack of

Personal Jurisdiction; (2) Defendants’ Joint Motion to Dismiss for Lack of Subject Matter

Jurisdiction and Failure to State a Claim; and (3) any Individual Defendant Motion to Dismiss,

which will cover grounds for dismissal that are unique to that Defendant.

       2.      Plaintiffs’ Oppositions to Defendants’ Motions to Dismiss shall be filed by

April 18, 2025. 2




2
 With respect to Personal Jurisdiction briefing only, Plaintiffs may request personal jurisdictional
discovery which would extend the briefing schedule on personal jurisdiction only. Plaintiffs and


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       3.      Defendants’ Replies to Plaintiffs’ Oppositions to Defendants’ Motions to Dismiss

shall be filed by May 28, 2025.

       4.      The page limits for the briefing on Defendants’ Motions to Dismiss shall be as

follows:

               a. Personal Jurisdiction Motion: Defendants shall coordinate their efforts to file

                  consolidated Suggestions in support of their Joint Motion to Dismiss for Lack

                  of Personal Jurisdiction, which shall not exceed 10 pages, exclusive of exhibits

                  and other supporting materials. Plaintiffs’ Opposition to this Motion to Dismiss

                  shall not exceed 10 pages. Defendants’ consolidated Reply shall not exceed 5

                  pages.

               b. Joint Motion to Dismiss: Defendants shall coordinate their efforts to file

                  consolidated Suggestions in support of their Joint Motion to Dismiss for Lack

                  of Subject Matter Jurisdiction and Failure to State a Claim, which shall not

                  exceed 50 pages, exclusive of exhibits and other supporting materials.

                  Plaintiffs’ Opposition to this Motion to Dismiss shall not exceed 50 pages.

                  Defendants’ consolidated Reply shall not exceed 25 pages.

               c. Individual Rule 12 Motions: If any individual Defendant believes it is

                  necessary to file an additional individual Motion to Dismiss based on grounds

                  unique to that Defendant, it may do so, and its Suggestions in support of that

                  individual Motion shall not exceed 10 pages, exclusive of exhibits and other

                  supporting materials. Plaintiffs’ Opposition to any individual Motion to




Defendants will meet and confer on that prospect, if it should come to pass, in an effort to avoid
motion practice.


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                   Dismiss shall not exceed 10 pages. Any Defendant’s individual Reply shall not

                   exceed 5 pages.

       5.      The parties agree that the above deadlines apply only to Defendants’ Motions to

Dismiss and the briefing for those Motions to Dismiss, and do not apply to any other motions or

briefs that may be submitted by any party in this action.

       6.      The parties agree that the above deadlines apply to every Defendant who is a party

to this Motion, and that the prior deadlines for each Defendant to respond to Plaintiffs’ First

Amended Class Action Complaint—including deadlines for which any Defendant has already

been granted an extension of time by this Court—are vacated and superseded by this schedule.

Dated: January 22, 2025
                                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2025, a copy of the above pleading was served via the

District Court ECM/ECF system on all counsel of record.


                                            /s/ Tristan L. Duncan_________________
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